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     1               IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
     2                         EASTERN DIVISION
     3     MALEEHA AHMAD, et al.,              )
                                               )
     4                    Plaintiffs,          )
                                               )
     5     vs.                                 ) Case No.:
                                               ) 4:17-cv-2455-CDP
     6     CITY OF ST. LOUIS,                  )
           MISSOURI,                           )
     7                                         )
                          Defendant.           )
     8
     9
    10
    11
    12
    13                      DEPOSITION OF SCOTT BOYHER
    14                TAKEN ON BEHALF OF THE PLAINTIFFS
    15                           NOVEMBER 21, 2018
    16
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    18
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    20
    21
    22
    23
    24
    25
                                                               Exhibit P


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     1                         INDEX OF EXAMINATION
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     7                          INDEX OF EXHIBITS
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    10
    11
    12    (The exhibit was retained by Ms. Steffan.)
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     1               IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
     2                         EASTERN DIVISION
     3     MALEEHA AHMAD, et al.,              )
                                               )
     4                    Plaintiffs,          )
                                               )
     5     vs.                                 ) Case No.:
                                               ) 4:17-cv-2455-CDP
     6     CITY OF ST. LOUIS,                  )
           MISSOURI,                           )
     7                                         )
                          Defendant.           )
     8
     9
    10
    11             DEPOSITION OF SCOTT BOYHER, produced, sworn,
           and examined on the 21st day of November, 2018,
    12     between the hours of 9:15 a.m. and 11:30 a.m. of
           that day, at St. Louis City Hall, 1200 Market
    13     Street, St. Louis, Missouri 63103, before AMANDA N.
           FARRAR, a Certified Court Reporter of the State of
    14     Missouri.
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     1                               APPEARANCES
     2                    For the Plaintiffs:
     3                    MS. JESSIE STEFFAN
                          American Civil Liberties Union of
     4                    Missouri
                          906 Olive Street, Suite 1130
     5                    St. Louis, Missouri 63101
                          jsteffan@aclu-mo.org
     6                    (314)652-3114
     7
                          For the Defendant:
     8
                          MR. ANDREW D. WHEATON
     9                    St. Louis City Counselor's Office
                          1200 Market Street, Suite 314
    10                    Saint Louis, Missouri 63103
                          wheatona@stlouis-mo.gov
    11                    (314)622-3361
    12
                          The Court Reporter:
    13
                          MS. AMANDA N. FARRAR, CCR
    14                    Alaris Litigation Services
                          711 North Eleventh Street
    15                    St. Louis, Missouri 63101
                          (314)644-2191
    16
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     1                       (The deposition commenced at 9:15 a.m.)
     2                                SCOTT BOYHER,
     3     of lawful age, being produced, sworn, and examined
     4     on behalf of the Plaintiffs, deposes and says:
     5                              DIRECT EXAMINATION
     6      BY MS. STEFFAN
     7               Q.      Good morning, Lieutenant Boyher.
     8               A.      Good morning.
     9               Q.      If you could, please, say and spell your
    10     name for the record first.
    11               A.      Scott Boyher, B-O-Y-H-E-R.
    12               Q.     And the court reporter introduced me,
    13     but I'm Jessie Steffan.           I am attorney for the
    14     plaintiffs in the case Ahmad vs. City of St. Louis.
    15                       Have you ever been deposed before?
    16               A.      Yes.
    17               Q.      So I assume you're familiar generally
    18     with the ground rules.          It's important to speak
    19     audibly so that the court reporter can take down the
    20     record.        If you answer a question, I will presume
    21     that you understood the question.               So if you don't
    22     understand the question, you should say something
    23     and I will attempt to restate.             And you can also
    24     take a break at any time as long as there's not a
    25     question hanging out there in the air.               If that's



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     1     the case, then I'd ask you answer the question
     2     before we go on a break.          Do you understand?
     3               A.   Yes.
     4               Q.   Have you taken any medications that
     5     could affect your ability to be truthful or to
     6     remember things for this deposition?
     7               A.   No.
     8               Q.   And do you have any health conditions
     9     that affect your ability to remember or to testify
    10     truthfully?
    11               A.   No.
    12               Q.   Did you do anything to prepare for
    13     today's deposition?
    14               A.   Yes.
    15               Q.   What did you do?
    16               A.   I watched some film footage and read the
    17     part of the -- part of a report.
    18               Q.   I'm sorry.      You said you read part of
    19     what?
    20               A.   A police report.
    21               Q.   What police report was that?
    22               A.   I don't -- I don't know the complaint
    23     number.
    24               Q.   What did it pertain to?
    25               A.   The extraction of the buses the CDT team



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     1     were on.
     2              Q.    And what did you watch footage of?
     3              A.    Film footage over weeks of civil unrest
     4     in downtown.
     5              Q.    Do you know where that footage was
     6     taken?
     7              A.    All over the city.
     8              Q.    How many hours of footage would you say
     9     you watched in preparation?
    10              A.    It's several.       I don't know.
    11              Q.    And they were videos that were taken at
    12     different locations downtown?
    13              A.    Yes.
    14              Q.    All downtown St. Louis, though?
    15              A.    All mine were downtown, yes.
    16              Q.    Is there anything else that you did to
    17     prepare for today's deposition?
    18              A.    Not that I'm aware of.
    19              Q.    Did you speak to anyone in preparation?
    20              A.    Yes.
    21              Q.    Other than your attorneys, did you speak
    22     to anyone in preparation?
    23              A.    No.
    24              Q.    Did you review any documents other than
    25     the video footage that you mentioned and the police



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     1     report that you read part of?
     2              A.    I glanced over the, what is it, the, the
     3     log.   There's a logbook.         I glanced over a copy of
     4     those and the probable cause statement I believe.
     5              Q.    When you say the logbook, that's the
     6     handwritten, like, command staff logbook?               Is that
     7     what we're talking about?
     8              A.    The logbook, I believe it -- yes, it
     9     would have been by the dispatcher or command
    10     logbook.
    11              Q.    And it's a handwritten document --
    12              A.    Yes.
    13              Q.    -- if it's what I'm thinking of?
    14                    And you said you read a probable cause
    15     statement as well.        What probable cause statement
    16     was that?
    17              A.    I'm unsure.
    18              Q.    Who did it pertain to?
    19              A.    It pertained to the civil unrest
    20     downtown.
    21              Q.    Which one?
    22              A.    I don't know.
    23              Q.    What was the probable cause for?
    24              A.    I don't know.
    25              Q.    You don't know what kind of crime or



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     1     anything?
     2              A.    No.
     3              Q.    When did you read that probable cause
     4     statement?
     5              A.    Yesterday.
     6              Q.    And did you review any communications in
     7     preparation for today's deposition, emails, text
     8     messages, listen to voice mails, anything like that?
     9              A.    No.
    10              Q.    I'm not asking for your address, but
    11     where do you live approximately?
    12              A.    Within the City of St. Louis.
    13              Q.    And how old are you?
    14              A.    52.
    15              Q.    Did you graduate from high school?
    16              A.    Yes.
    17              Q.    Where did you attend high school?
    18              A.    Francis Howell.
    19              Q.    I'm from St. Peters myself.
    20                    And did you graduate from a police
    21     academy?
    22              A.    Yes.
    23              Q.    The St. Louis Police Academy?
    24              A.    St. Louis County.
    25              Q.    When did you attend St. Louis County



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      1    Police Academy?
      2             A.     In the '80s.
      3             Q.     Fair enough.
      4                    Did you graduate from college?
      5             A.     No.
      6             Q.     Did you attend any college?
      7             A.     Some.
      8             Q.     Where did you attend college?
      9             A.     I took some classes at Meramec and
    10     continuing education at the police academy.
    11              Q.     And that continuing education, is that
    12     St. Louis County Police Academy or --
    13              A.     City.
    14              Q.     Have you ever served in any branch of
    15     the military?
    16              A.     No.
    17              Q.     And did you ever begin the recruitment
    18     process for any branch of the military?
    19              A.     No.
    20              Q.     Do you have any medical training?
    21              A.     No.
    22              Q.     You're not a first -- you didn't do
    23     first responder training or EMT training?
    24              A.     I've had basic first responder training,
    25     yes.



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      1             Q.     Do you have any correctional training?
      2    Have you ever worked as a correctional officer or --
      3             A.     No.
      4             Q.     I'm going to try not to speak over you.
      5    If you would try to let me answer -- finish asking
      6    my question before you answer.
      7                    Do you have a driver's license?
      8             A.     Yes.
      9             Q.     And do you have any specialized driving
    10     training, like, you have a commercial license or
    11     anything like that?
    12              A.     No.
    13              Q.     Do you have any restrictions on your
    14     driving license?        For example, I have to wear
    15     glasses when I drive.
    16              A.     I don't believe so.
    17              Q.     Have you ever been convicted of a crime?
    18              A.     No.
    19              Q.     How about an infraction or an ordinance
    20     violation?
    21              A.     No.
    22              Q.     Have you ever been prosecuted for a
    23     crime?
    24              A.     No.
    25              Q.     And have you ever been arrested?



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      1             A.     No.
      2             Q.     Currently what is your assignment within
      3    St. Louis Metropolitan Police Department?
      4             A.     I'm a lieutenant with the bike patrol.
      5             Q.     How long have you had that rank,
      6    lieutenant?
      7             A.     Which job are you speaking of?
      8             Q.     At what point -- at what time were you
      9    promoted to the rank of lieutenant?
    10              A.     Approximately ten years ago -- eight
    11     years ago.      I'm sorry.
    12              Q.     And my understanding is your current
    13     role is as commander of the bike response team; is
    14     that right?
    15              A.     Correct.
    16              Q.     And how long have you been in that role?
    17              A.     Roughly two-and-a-half years.
    18              Q.     When did you begin your employment with
    19     the St. Louis Metropolitan Police Department?
    20              A.     In 1992.
    21              Q.     And before that you worked elsewhere; is
    22     that right?
    23              A.     Yes.
    24              Q.     Did you work in St. Louis County?
    25              A.     No.



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      1             Q.     Where did you work right before you
      2    worked at St. Louis Metropolitan Police Department?
      3             A.     Town and Country Police Department.
      4             Q.     How long were you with Town and Country?
      5             A.     Approximately three years.
      6             Q.     What was your role or your rank at Town
      7    and Country Police Department?
      8             A.     As a police officer.
      9             Q.     Did you ever work in any other law
    10     enforcement capacity other than at Town and Country
    11     or at St. Louis?
    12              A.     No.
    13              Q.     When you began your employment at
    14     St. Louis Metropolitan Police Department, what rank
    15     did you enter as?
    16              A.     A probationary officer.
    17              Q.     And how long were you a probationary
    18     officer?
    19              A.     Approximately a year.
    20              Q.     After that what rank did you attain?
    21              A.     Patrol officer.
    22              Q.     How long were you a patrol officer?
    23              A.     Approximately nine years.
    24              Q.     After you were a patrol officer, you
    25     became a lieutenant; is that correct?



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      1             A.     No.
      2             Q.     What rank did you attain after being a
      3    patrol officer?
      4             A.     Sergeant.
      5             Q.     How long were you a sergeant?
      6             A.     Approximately nine years.
      7             Q.     So all in all, how long have you been a
      8    law enforcement officer?          Would it be approximately
      9    thirty --
    10              A.     There you go.
    11              Q.     Thirty years --
    12              A.     Yeah.
    13              Q.     -- is that correct?
    14                     And I imagine that as a patrol officer
    15     and as a probationary officer, you served in -- you
    16     had different assignments during that time?
    17              A.     Yes.
    18              Q.     In those positions, were you ever
    19     assigned to the bike response team?              Did it exist at
    20     the time you were a probationary or patrol officer?
    21              A.     It didn't exist.
    22              Q.     When you became a sergeant, what was
    23     your assignment or your role?
    24              A.     At which point?
    25              Q.     What did you spend the majority of your



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      1    time doing when you were a sergeant?
      2              A.    Patrol, you know.
      3              Q.    And when you became a lieutenant, you
      4    did something before you became commander of bike
      5    response team; is that right?
      6              A.    Yes.
      7              Q.    What other roles did you have as a
      8    lieutenant?
      9              A.    I was a patrol lieutenant and a special
    10     operations lieutenant.
    11               Q.    What does being a patrol lieutenant
    12     entail?
    13               A.    Uniform patrol of our district.
    14               Q.    What district were you assigned to?
    15               A.    At which point?
    16               Q.    Did it change?
    17               A.    Yes.
    18               Q.    How long were you a patrol lieutenant?
    19               A.    At which point?
    20               Q.    My understanding is you were a
    21     probationary officer for about a year, a patrol
    22     officer for about nine years, a sergeant for about
    23     nine years and then you became a lieutenant; is that
    24     right?
    25               A.    Yeah.



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      1             Q.     And you were first a patrol lieutenant
      2    when you first attained the rank of lieutenant,
      3    right?
      4             A.     Yes.
      5             Q.     How long were you a patrol lieutenant in
      6    total?
      7             A.     Several years.
      8             Q.     And you were assigned to different
      9    districts throughout that time?
    10              A.     Yes.
    11              Q.     And then you were a special operations
    12     lieutenant; is that right?
    13              A.     Correct.
    14              Q.     At sort of a general level, what does
    15     that mean, to be a special operations lieutenant?
    16              A.     I was assigned just to special
    17     operations unit.
    18              Q.     Is that something other than SWAT?
    19              A.     Yes.
    20              Q.     What is the special operations unit?
    21              A.     The special operations unit is a
    22     detective unit.
    23              Q.     So it's investigatory mostly?
    24              A.     Yes.
    25              Q.     So currently you're a lieutenant and



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      1    commander of the bike response team?
      2             A.     Yes, ma'am.
      3             Q.     What are your current job
      4    responsibilities?
      5             A.     My current responsibilities are
      6    patrolling -- supervising the patrolling of
      7    downtown.
      8             Q.     What are the boundaries of downtown?
      9                    MR. WHEATON:      Objection; form.
    10                     Subject to that, you can answer, if you
    11     know.
    12              A.     The area that I'm responsible for?
    13              Q      (By Ms. Steffan) Yes.
    14              A.     The area that I'm responsible for is
    15     Spruce to -- would be Spruce roughly to Cass, the
    16     river to 16th Street, 17th Street.
    17              Q.     That is roughly the area that the bike
    18     response team is responsible for patrolling; is that
    19     right?
    20              A.     The bike -- the bike patrol, that's
    21     their primary area.
    22              Q.     And as the commander of the bike unit,
    23     how do your responsibilities differ from just a line
    24     officer, police officer who is assigned to that
    25     unit?    What do you do differently?



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      1             A.     Supervisor.
      2             Q.     What does that mean?
      3             A.     I supervise the officers.
      4             Q.     On sort of a day-to-day basis, what does
      5    that entail that you actually do?
      6             A.     I would supervise the officers and their
      7    patrol plan.
      8             Q.     If I understand correctly, you're
      9    telling the officers where they should go in that
    10     area; is that right?
    11              A.     Yes.
    12              Q.     Can you describe sort of your typical
    13     workday?
    14              A.     My typical workday would be:           I come in
    15     and I do roll call.         If we have any -- we discuss
    16     events that happened the night before, if there's
    17     work that needs, needs to be done on them, citizen
    18     complaints that have came in on where we need to
    19     patrol, administrative duties.            That's, that's a
    20     basic day.
    21              Q.     So after roll call is over, is that when
    22     you sort of begin your administrative duties?
    23              A.     No.
    24              Q.     What happens after roll call for you?
    25              A.     It depends on the day.



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      1              Q.    Sometimes are you out patrolling?
      2              A.    Yes.
      3              Q.    And sometimes you're doing something
      4    other than patrolling, right?
      5              A.    Correct.
      6              Q.    And how do your shifts work?           Do you
      7    come in in the morning and you finish in the
      8    evening, or do you have some other kind of work
      9    plan?
    10               A.    Are you -- you're saying as bike unit or
    11     myself?
    12               Q.    Yourself.
    13               A.    My hours fluctuate.
    14               Q.    By week or by multi-week period?
    15               A.    It could be daily.
    16               Q.    Do you ever work overnight?
    17               A.    What do you mean by -- I don't
    18     understand the question.
    19               Q.    Do you set your own schedule or does
    20     somebody set your schedule for you?
    21               A.    I set my schedule.
    22               Q.    And is it fair to say you just work when
    23     necessary; is that right?
    24                     MR. WHEATON:      Objection to form.
    25                     Subject to that, you can answer.



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      1             Q      (By Ms. Steffan) I mean how many hours
      2    do you work in a week?
      3             A.     A minimum of 40, but usually much more
      4    than that.
      5             Q.     That's what I'm trying to say.            You
      6    might work many more hours than 40 if you deem it
      7    necessary; is that right?
      8             A.     Correct.
      9             Q.     Are there set periods that you have to
    10     have off?
    11              A.     No.
    12              Q.     When you attained the rank of
    13     lieutenant, did you receive any additional training
    14     other than your annual in-service training?
    15              A.     Didn't understand the question.
    16              Q.     Is there training that comes with a
    17     promotion to lieutenant?
    18              A.     Yes.
    19              Q.     What kind of training is that?
    20              A.     I'm not sure.       I don't recall.       It was
    21     administrative.        It's a three-day training at the
    22     time of getting promoted.
    23              Q.     When you first became commander of the
    24     bike unit, did you receive any additional training?
    25              A.     Yes.



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      1              Q.    What kind of training was that?
      2              A.    Received bike training and bike response
      3    team training.
      4              Q.    What does bike training entail?
      5              A.    How to ride a bike.
      6              Q.    What does bike response team training
      7    entail?
      8              A.    How to operate as a policing unit on a
      9    bicycle.
    10               Q.    Other than being promoted, have you
    11     received other commendations during your tenure with
    12     St. Louis?
    13               A.    Yes.
    14               Q.    What commendations are those?
    15               A.    A Meritorious Service, captain's
    16     letters, chief's letters.           That's all I can recall.
    17               Q.    Have you ever been disciplined during
    18     your tenure at St. Louis?
    19               A.    No.
    20               Q.    Have you ever received a written
    21     reprimand?
    22               A.    Not that I recall.
    23               Q.    Not a verbal reprimand?
    24               A.    Not that I recall.
    25               Q.    Have you ever been told that you needed



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      1    to be retrained on a department policy?
      2             A.     Not that I recall.
      3             Q.     Do you know if anyone has ever filed a
      4    citizen complaint against you?
      5             A.     Yes.
      6             Q.     Do you recall the specific
      7    circumstances?
      8                    MR. WHEATON:      Objection to form.
      9                    Subject to that, you can answer, if you
    10     know.
    11              A.     I'm, I'm sorry.       What was the question
    12     again?
    13              Q      (By Ms. Steffan) You said you do recall
    14     that someone has filed a citizen complaint against
    15     you; is that right?
    16              A.     Yes.
    17              Q.     And do you recall the circumstances of
    18     that complaint?        When did it happen, for example?
    19              A.     I've had -- well, which one are you
    20     speaking of?
    21              Q.     How many times has someone filed a
    22     citizen complaint against you?
    23              A.     I don't know.
    24              Q.     More than five?       Less than five?
    25              A.     Over which time frame?



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      1              Q.    Your entire tenure at St. Louis?
      2              A.    Over five.
      3              Q.    When's the most recent one that you can
      4    recall?
      5              A.    That was specific -- that I was
      6    specifically named, years ago.
      7              Q.    Can you be more specific?
      8              A.    Years.     No.
      9              Q.    Two or three years ago?          Ten years ago?
    10               A.    Longer than two or three years ago.
    11               Q.    What was the citizen complaining about?
    12               A.    I believe physical abuse.
    13               Q.    Was there an investigation into that
    14     complaint?
    15               A.    Yes.
    16               Q.    What was the outcome of the
    17     investigation?
    18               A.    I don't recall.       I don't know if it was
    19     exonerated or unfounded.
    20               Q.    But it was one of those two things?
    21               A.    Yes.     I was not found guilty of it.
    22               Q.    Do you recall any other specific citizen
    23     complaints?
    24               A.    No.
    25               Q.    Have you ever been subject to review



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      1    just because of the number of uses of force you used
      2    in a certain period of time?
      3              A.    Not that I recall.
      4              Q.    Have you ever filed a complaint about
      5    another officer's conduct in the course of their
      6    duties?
      7                    MR. WHEATON:      You're asking about a
      8    formal complaint?
      9              Q.   (By Ms. Steffan)       A written document,
    10     yeah.
    11                     Have you ever written a complaint in
    12     which you have alleged that another officer did
    13     something improper in the course of carrying out
    14     their duties?
    15               A.    Yes.
    16               Q.    When was that?
    17               A.    I don't know.
    18               Q.    How long ago?
    19                     MR. WHEATON:      Objection; foundation.
    20               Q.   (By Ms. Steffan)       You can answer.
    21               A.    I'm, I'm trying to figure -- I'm trying
    22     to remember.       The last one, maybe a year and a half
    23     ago roughly.
    24               Q.    And what did you allege?
    25               A.    The officer didn't do a thorough



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      1    investigation.
      2             Q.     Into a crime that had been committed?
      3             A.     Correct.
      4                    MR. WHEATON:      I want to be certain we're
      5    in agreement that any excerpts of this deposition
      6    transcript that pertain to any discipline or
      7    allegations of misconduct that's reflected in
      8    personnel files be confidential and subject to a
      9    protective order.        I assume there is one in place in
    10     this case.
    11                     MS. STEFFAN:      I don't recall if there is
    12     to be honest.       We'll treat it -- if there is,
    13     we'll -- and it meets the qualifications for being
    14     confidential, then we'll treat as confidential.
    15              Q.    (By Ms. Steffan)       Have you ever filed a
    16     complaint about another officer's use of force?
    17              A.     Not that I'm aware of.
    18              Q.     Have you ever counseled or reprimanded
    19     officers under your command in the bike unit for use
    20     of force?
    21              A.     Can you restate that question?
    22              Q.     Sure.
    23                     Have you ever counseled or reprimanded
    24     an officer, subject to your command as part of the
    25     bike unit, for his or her use of force?



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      1             A.     No.
      2             Q.     How many lieutenants are there in the
      3    St. Louis Metropolitan Police Department?
      4             A.     At this point, I don't know.
      5             Q.     Do you know approximately, more than
      6    ten, less than ten?
      7             A.     More than ten.       Roughly 60, I imagine.
      8             Q.     More than ten, less than 25; is that
      9    correct?
    10              A.     No.     More than 25.
    11              Q.     Oh, 60.     Is that what you said?
    12              A.     Yeah.
    13              Q.     How about captains, approximately?
    14              A.     Approximately ten.
    15              Q.     How many officers belong to the bike
    16     unit?
    17              A.     Believe it's either 22 or 24.
    18              Q.     Do I understand correctly that that's,
    19     like, a permanent assignment?
    20              A.     The bike unit, yes.
    21              Q.     When was the bike unit created, if you
    22     know?
    23              A.     I don't know.
    24              Q.     Trying to think back of now what you've
    25     testified about your employment history.



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      1                    Did you -- were you a patrol officer
      2    with the bike unit before you were a lieutenant and
      3    commander of the bike unit, or is that the position
      4    in which you entered the bike unit?
      5             A.     I entered as a lieutenant.
      6             Q.     Do all officers who are assigned to the
      7    bike unit get that bike response team training and
      8    the bike training that you mentioned that you had
      9    received?
    10              A.     Yes.
    11              Q.     Do you conduct training as commander of
    12     the bike unit?
    13              A.     Do I conduct it?        No.
    14              Q.     That training is through the academy; is
    15     that right?
    16              A.     No.
    17              Q.     Who administers that training?
    18              A.     Which training?
    19              Q.     The bike response team training and the
    20     bike training?
    21              A.     The bike -- we have trainers that
    22     train -- certified trainers that train for the
    23     bikes, and then we have bike response team trainers
    24     and outside people that -- outside agencies that
    25     come in and train.



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      1             Q.     So there's both internal trainers and
      2    external trainers?
      3             A.     Correct.
      4             Q.     The bike response team sometimes works
      5    with the civil disobedience team; is that correct?
      6             A.     Correct.
      7             Q.     To your knowledge, what is the role of
      8    the civil disobedience team?
      9             A.     To respond to civil unrest.
    10              Q.     When you say civil unrest, what do you
    11     mean?
    12              A.     Large, large crowd management.
    13              Q.     So civil unrest is when there's a large
    14     crowd?
    15              A.     Large crowd management when there's
    16     perceived public safety issues.
    17              Q.     To the best of your knowledge, how many
    18     officers are assigned to the civil disobedience
    19     team?
    20              A.     I don't know.
    21              Q.     Do you know approximately?
    22              A.     No.
    23              Q.     Do you know if that's a permanent
    24     assignment as well like the bike unit is?
    25              A.     It is not.



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      1              Q.      So if I understand correctly, officers
      2    who are assigned to the civil disobedience team have
      3    additional other assignments that they fulfill at
      4    other times; is that right?
      5              A.      Correct.
      6              Q.      Can a person be dual assigned to the
      7    bike unit and also to the civil disobedience team?
      8              A.      Yes.
      9              Q.      Do you have any officers that fulfill
    10     both roles right now?
    11               A.      They do not fulfill -- they're assigned
    12     to both, but they're -- if they're assigned to the
    13     bikes, they remain with the bikes.
    14               Q.      I guess I don't understand what you're
    15     saying.        If they're assigned to the bikes at a
    16     particular incident, they remain with the bikes; is
    17     that right?
    18               A.      No.    If they're assigned -- there's
    19     people that -- if they're assigned to the bikes and
    20     they were previously assigned to the civil
    21     disobedience team, they will stay with the bikes.
    22     They will not go with the civil disobedience team.
    23               Q.      To your knowledge, what kind of training
    24     is given to an officer who is assigned to the civil
    25     disobedience team?



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      1             A.     Formation training, civil disobedience
      2    response training.
      3             Q.     And what is civil disobedience response
      4    training?
      5             A.     How to maneuver in formations in unison
      6    with other police.
      7             Q.     Earlier you used the term civil unrest.
      8    Do you think there is a difference between civil
      9    unrest and civil disobedience?
    10              A.     Yes.
    11              Q.     What is the difference?
    12              A.     I would -- my perception is civil unrest
    13     would be a group that is unhappy or protesting
    14     something, which isn't perceived as criminal at all.
    15     And then what was the question again?
    16              Q.     To your knowledge, what is the
    17     difference between civil unrest and civil
    18     disobedience?
    19              A.     Civil disobedience would be acting out
    20     in a criminal matter or violating crimes during your
    21     protest.
    22              Q.     My understanding is you sometimes also
    23     work with the documentation team; is that right?
    24              A.     No, I do not work with the documentation
    25     team.



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      1             Q.     What is the role of the documentation
      2    team to your knowledge?
      3             A.     To document incidents.
      4             Q.     Do you know how big that group is?
      5             A.     No.
      6             Q.     Do you ever give statements to the
      7    documentation team?
      8             A.     Yes.
      9             Q.     When's the last time you did that, if
    10     you recall?
    11              A.     During, during the civil unrest
    12     downtown.
    13              Q.     Last September and October, 2017; is
    14     that what you're referring to?
    15              A.     Yes.
    16              Q.     Do you also sometimes work with the SWAT
    17     team?
    18                     MR. WHEATON:      You're asking about
    19     currently?
    20              Q.    (By Ms. Steffan)       As commander of the
    21     bike unit.      Does the bike unit ever work with the
    22     SWAT team?
    23              A.     No.
    24              Q.     Does the bike unit ever work with
    25     special operations?



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      1             A.     No.
      2             Q.     I would like to ask you to direct your
      3    attention back to September and October of 2017 and
      4    to the St. Louis Metropolitan Police Department's
      5    response to those protests.           So you understand
      6    generally the time frame and the events that I'm
      7    talking about; is that right?
      8             A.     Yes.
      9             Q.     At that time you were still commander of
    10     the bike unit; is that right?
    11              A.     Yes.
    12              Q.     When did you first hear about the
    13     Stockley case?
    14              A.     Weeks before the ruling.
    15              Q.     And when did you find out that a verdict
    16     had been issued?
    17              A.     I think -- I think it was -- I don't
    18     know.
    19              Q.     Did you anticipate that there would be
    20     protests in response to the Stockley verdict?
    21              A.     Yes.
    22              Q.     What did you do to prepare for those
    23     protests?
    24              A.     I participated in training with the
    25     bicycle response team.



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      1             Q.     Who decided that the bicycle response
      2    team needed to be trained?
      3             A.     I don't know.
      4             Q.     Was it you or was it someone else?
      5             A.     It's above me.
      6             Q.     What did the training include?
      7             A.     To teach how to use bicycles for large
      8    crowd management.
      9             Q.     How long was the training?
    10              A.     I don't recall.
    11              Q.     More than a day?        Less than a day?
    12              A.     More than a day.
    13              Q.     More than a week?        Less than a week?
    14              A.     Roughly a week.
    15              Q.     Was there any other additional training,
    16     besides that training, that you participated in as
    17     part of the predicted protests?
    18              A.     That was it.
    19              Q.     Was there anything else that you or your
    20     unit did to prepare for those protests?
    21              A.     Yes.
    22              Q.     What else did you do?
    23              A.     We audited our equipment, made sure our
    24     equipment was operational.
    25              Q.     Does that include things other than your



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      1    bicycles?
      2             A.     Yes.
      3             Q.     What else does that include?
      4             A.     Protective gear, vehicles, maintenance
      5    equipment, uniforms.
      6             Q.     When you say protective equipment, what
      7    are you referring to?
      8             A.     Shin guards, helmets, vests.
      9             Q.     Are uniforms assigned to individual
    10     officers or are they shared?
    11              A.     They're assigned to particular officers.
    12              Q.     Are officers' names on their uniforms?
    13              A.     Yes.
    14              Q.     Where is that displayed?
    15              A.     On the upper right chest.
    16              Q.     You recall that the verdict in the
    17     Stockley case was issued on Friday, September 15th,
    18     is that correct, of 2017?
    19              A.     Yes.
    20              Q.     Did you work that day?
    21              A.     Yes.
    22              Q.     What time did you start work?
    23              A.     Approximately 7 o'clock.
    24              Q.     What was the first thing you did when
    25     you arrived at work?



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      1             A.     Drank a cup of coffee.
      2             Q.     That's a good way to start the day.
      3                    After that what happened?
      4             A.     We, we got our equipment together.
      5             Q.     When you say "we," you're talking about
      6    the bike unit?
      7             A.     Yes, ma'am.
      8             Q.     What happened after that?
      9             A.     We staged.
    10              Q.     What does staging mean?
    11              A.     We were prepared to deploy and move all
    12     personnel to any particular location that we were
    13     directed to go.
    14              Q.     Where were you staged?
    15              A.     At Ninth, 215 North Ninth.
    16              Q.     Indoors?     Outdoors?
    17              A.     At the police -- at the bike station.
    18              Q.     So is that outdoors?
    19              A.     It's both.      I mean, it's the size of
    20     this room.
    21              Q.     You all squished together?
    22              A.     Right.     So you have people inside and
    23     outside.
    24              Q.     All right.      How long did you remain
    25     staged at 215 North Ninth?



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      1             A.     At what time?
      2             Q.     The morning when you had just arrived,
      3    drank your coffee, checked your equipment, got
      4    staged, how long were you staged at that time?
      5             A.     Until I was asked to move everybody to
      6    Tucker and Clark.
      7             Q.     Who were you asked by?
      8             A.     Whoever -- dispatch.         I don't...
      9             Q.     Was dispatch relaying an order from
    10     someone else?
    11              A.     Somebody above my command.
    12              Q.     Approximately what time was that request
    13     given?
    14              A.     Roughly 8:45.
    15              Q.     At that point, to your knowledge, had
    16     the verdict been issued?
    17              A.     I don't -- I don't know.
    18              Q.     What happened after you deployed to
    19     Tucker and Clark?
    20              A.     We staged.
    21              Q.     At that location?
    22              A.     (The witness nodded his head.)
    23              Q.     And how long were you staged there
    24     approximately?
    25              A.     I don't -- an hour.



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      1              Q.    Is this the full bike unit at this
      2    point, about 20 to 25 officers or some subset of
      3    that?
      4              A.    I'm sorry.      Can you repeat that, please?
      5              Q.    I think you testified earlier that there
      6    are about 22 to 24 officers assigned to the bike
      7    unit; is that correct?
      8              A.    That's correct.
      9              Q.    So at the time that you deployed to
    10     Tucker and Clark on September 15th, 2017, was that
    11     20 to 25 officers or was it some smaller or larger
    12     number?
    13               A.    It was a larger number.
    14               Q.    Who was additionally deployed in
    15     addition to the bike unit?
    16               A.    The bicycle response team, the auxiliary
    17     bicycle response time.
    18               Q.    That's my mistake.        I didn't understand
    19     those are two different units.
    20                     What is the difference between the
    21     bicycle response team and the bike unit?
    22               A.    The bike unit is a permanent unit that's
    23     responsible for policing the business area of
    24     downtown.      The bicycle response team incorporates
    25     the bike unit and an auxiliary unit which is



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      1    officers from throughout the city that have been
      2    bike trained.
      3             Q.     I understand.
      4                    How large is the bicycle response team?
      5             A.     Roughly 60 officers.
      6             Q.     So if I understand correctly, that's
      7    20-ish permanent officers who patrol as part of the
      8    bike unit, plus 60 auxiliary officers who are
      9    assigned to other duties, but also have been bike
    10     trained and act as part of a bicycle response
    11     team; is that correct?
    12              A.     Total personnel -- total personnel in
    13     the bike unit -- allotted personnel is 27 people.
    14     The rest are auxiliary.          So you have roughly 32
    15     other police personnel that are auxiliary.
    16              Q.     So 60-ish total personnel?
    17              A.     Correct.
    18              Q.     I understand.
    19                     After you and all of those personnel
    20     deployed to Tucker and Clark, you remained about an
    21     hour.    Is that what you said?
    22              A.     I'm unsure of how long we were staged
    23     there.
    24              Q.     What was the next thing you did after
    25     staging at Tucker and Clark?



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      1             A.     We had to move out of that area.
      2             Q.     Where did you move?
      3             A.     To 14th and Spruce.
      4             Q.     And why did you have to move out of that
      5    area?
      6             A.     Large crowds of protesters had taken the
      7    streets and were heading towards our location.
      8             Q.     So if I understand correctly, you're
      9    moving away from the protesters, not towards the
    10     protesters at that point?
    11              A.     Correct.
    12              Q.     At that point you went to 14th and
    13     Spruce; is that correct?
    14              A.     Yeah.
    15              Q.     How long were you there?
    16              A.     I don't know.
    17              Q.     Were you staged there or were you doing
    18     something else?
    19              A.     We staged.
    20              Q.     If I understand correctly, 14th is two
    21     blocks west of Tucker; is that correct?
    22              A.     Yes.
    23              Q.     And Spruce is just south of Market; is
    24     that correct?
    25              A.     Correct.



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      1             Q.     Were there protesters in the area that
      2    you moved to at 14th and Spruce at that point?
      3             A.     At that point, no.
      4             Q.     What happened after you staged there?
      5             A.     At what point?
      6             Q.     What was the next thing that happened
      7    after you staged at 14th and Spruce?
      8             A.     I don't know.
      9             Q.     You agree you moved from that location
    10     at some point?
    11              A.     Yes.
    12              Q.     Was that afternoon by that point?
    13              A.     It was sometime after we staged.
    14              Q.     Did you encounter protesters that
    15     afternoon?
    16              A.     Yes.
    17              Q.     Where at?
    18              A.     At which point?
    19              Q.     The next time after you had staged at
    20     14th and Spruce?
    21              A.     At -- the next time we encountered
    22     protesters was at Clark and Tucker.
    23              Q.     When you encountered protesters at Clark
    24     and Tucker, is that when the buses were there?
    25              A.     Yes.



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      1             Q.     When you arrived at that location, the
      2    buses were already there; is that correct?
      3             A.     Yes.
      4             Q.     Is this part of the video you reviewed
      5    before today's deposition?
      6             A.     Yes.
      7             Q.     How many buses were at Clark and Tucker
      8    when you arrived?
      9             A.     Two.
    10              Q.     What were the buses there for?
    11              A.     To transport civil disobedience officer
    12     teams.
    13              Q.     What was your role on that scene?             What
    14     was the point of the bike unit and the bike response
    15     team being there at Clark and Tucker?
    16              A.     The protesters had blocked the buses,
    17     and there was reports that they were throwing stuff
    18     at the buses, and I was given an order to go down
    19     and try to extract the buses from the crowd.
    20              Q.     So the purpose of the bike unit and the
    21     bike response team was to help extract the buses; is
    22     that correct?
    23              A.     Correct.
    24              Q.     Did you see anyone throwing anything?
    25              A.     Yes.



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      1             Q.     Have you seen video of anyone throwing
      2    anything?
      3             A.     Yes.
      4             Q.     At Clark and Tucker?
      5             A.     Yes.
      6             Q.     Where did the police want to extract the
      7    buses to?
      8                    MR. WHEATON:      Objection; form,
      9    foundation.
    10              A.     Out of that area.
    11              Q.    (By Ms. Steffan)       Do you know where to?
    12              A.     Yes.    The resting for where they wanted
    13     to stage them at, no.
    14              Q.     But they wanted -- the primary goal was
    15     to extract them from that area?
    16              A.     Correct.
    17              Q.     To go someplace where there were no
    18     protesters?
    19              A.     Correct.
    20              Q.     Were the buses empty or full?
    21              A.     I believe they were full.
    22              Q.     Of police officers?
    23              A.     Yes.
    24              Q.     Does a bus driver drive the bus under
    25     those circumstances or is it a police officer who



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      1    drives the bus?
      2             A.     I'm unsure who was driving the bus.
      3             Q.     Me, too.     I can't figure it out.
      4                    You recall arriving at Clark and Tucker
      5    that afternoon?
      6             A.     Yes.
      7             Q.     What was your sense of what the crowd
      8    was like then?
      9                    MR. WHEATON:      Objection; form.
    10              Q.    (By Ms. Steffan)       Based on your
    11     experience as a police officer, what was your sense
    12     of how the crowd was at that point?
    13                     MR. WHEATON:      Same objection.
    14              A.     There -- it was disobedience, they were
    15     trying to block the buses from coming out.                People
    16     within the crowd were throwing items.
    17              Q.    (By Ms. Steffan)       Was it your perception
    18     that the majority of the crowd was engaged in
    19     disobedience and throwing items?
    20              A.     I'm not sure of that question.            Can you
    21     ask me that again?
    22              Q.     Was it your perception when you arrived
    23     at Clark and Tucker that a majority of the members
    24     of the crowd were throwing items and were engaged in
    25     disobedience?



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      1             A.     Yes.
      2                    MR. WHEATON:      Are you asking --
      3             Q.    (By Ms. Steffan)       Did you see protesters
      4    blocking the bus?
      5             A.     Yes.
      6             Q.     How many protesters were blocking the
      7    bus?
      8             A.     I don't know.
      9             Q.     Did you see any officers deploy any
    10     chemical agents at protesters at that scene?
    11              A.     At which point?
    12              Q.     At Clark and Tucker.
    13              A.     Yes.
    14              Q.     How many officers did you see deploy
    15     chemical agents?
    16              A.     I don't know.
    17              Q.     Less than five?       More than five?
    18              A.     I don't know.
    19              Q.     Did you see more than one officer deploy
    20     chemical agents?
    21                     MR. WHEATON:      Objection; foundation.
    22              A.     I know what I did.        I don't --
    23              Q.    (By Ms. Steffan)       Let's start with that.
    24     What did you do?        Did you deploy any chemical
    25     agents --



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      1              A.    Yes.
      2              Q.    How many times did you deploy chemical
      3    agents?
      4              A.    At which point?
      5              Q.    While you were at Clark and Tucker and
      6    had been directed to help extract the buses there.
      7              A.    During the bus extraction, I deployed
      8    pepper spray roughly five or six times.
      9              Q.    Against five or six different
    10     individuals?
    11               A.    Correct.
    12               Q.    Did you use the individual-sized,
    13     department-issued pepper spray?
    14               A.    No.
    15               Q.    Did you use a fogger?
    16               A.    No, we didn't.       We don't have foggers.
    17               Q.    What did you use to deploy pepper spray?
    18               A.    I used a streamer, high-capacity
    19     streamer.
    20               Q.    I assume you've been trained on how to
    21     use the high-capacity streamer?
    22               A.    Yes.
    23               Q.    When's the last time that you were
    24     trained on it?
    25               A.    I don't know.



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      1             Q.     More than a year ago, less than a year
      2    ago, at this point?
      3             A.     I don't know.
      4             Q.     What is the intended effect of a
      5    high-capacity streamer?          What are you trying to
      6    accomplish by using it?
      7             A.     To gain compliance.         To gain compliance
      8    or stop the criminal activity that's taking place.
      9             Q.     Did you arrest the individuals against
    10     whom you deployed the streamer?
    11              A.     No, I did not.
    12              Q.     Did you do an I/LEADS report describing
    13     your deployment of the streamer?
    14              A.     I did not.
    15              Q.     Earlier you testified that you saw maybe
    16     at least one other officer deployed chemical
    17     agents; is that correct?
    18                     MR. WHEATON:      Objection; form,
    19     foundation, mischaracterizes his testimony.
    20              Q.    (By Ms. Steffan)       Is that not what you
    21     testified?
    22              A.     I said I, I could tell you what I --
    23     when I deployed.
    24              Q.     Did you see any other officers deploy
    25     chemical agents?



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      1             A.     Yes.
      2             Q.     One officer or more than one other
      3    officer?
      4                    MR. WHEATON:      Objection; foundation.
      5             A.     I don't know.
      6             Q.    (By Ms. Steffan)       It might have been one?
      7    It might have been more than one?
      8             A.     Correct.
      9             Q.     Did you review video before today's
    10     deposition in which you saw the deployment of
    11     chemical agents?
    12              A.     Yes.
    13              Q.     You saw yourself deploy chemical agents?
    14              A.     Yes.
    15              Q.     And you saw other officers deploy
    16     chemical agents?
    17              A.     Yes.
    18              Q.     On the video?
    19              A.     Yes.
    20              Q.     Do you recall how many officers you saw
    21     deploy chemical agents on the video?
    22              A.     I believe two.
    23              Q.     Could you tell if those officers
    24     arrested the individuals against whom they had
    25     deployed those chemical agents?



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      1             A.     No.
      2             Q.     Based on what you reviewed on the video,
      3    did the officers use streamers or some other form of
      4    chemical agent?
      5             A.     It would have been streamers.
      6             Q.     Is the high-capacity streamer something
      7    that is issued to each officer or only certain
      8    officers?
      9             A.     Certain officers.
    10              Q.     What officers are issued high-capacity
    11     streamers?
    12              A.     Supervisors and people that are holding
    13     the position of linebacker, which would be
    14     designated personnel that are behind the initial --
    15     that are assigned to be behind bike lines if a
    16     scrimmage line is put up.
    17              Q.     And do you know if anyone had a body
    18     camera at the Clark and Tucker --
    19              A.     Yes.
    20              Q.     -- incident?
    21                     Did you have a body camera?
    22              A.     No.
    23              Q.     Who had body cameras?
    24              A.     Matt Karnowski, Sergeant.
    25              Q.     And is Sergeant Karnowski in your line



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      1    of command?      Does that question make sense?            Is he
      2    your subordinate?
      3              A.    Yes.
      4              Q.    And he is assigned permanently to the
      5    bike unit?
      6              A.    He was at that time.
      7              Q.    And he reported to you directly?
      8              A.    Correct.
      9              Q.    At that time how many sergeants did you
    10     have?
    11               A.    Five, I believe.
    12               Q.    Were all of them at Clark and Tucker?
    13               A.    I'm unsure.
    14               Q.    Sergeant Karnowski was at Clark and
    15     Tucker?
    16               A.    Yes.
    17               Q.    What ultimately happened with the
    18     bike -- I'm sorry, with the bus extraction?                Were
    19     the buses able to be extracted?
    20               A.    Eventually, yes, both buses were
    21     extracted.
    22               Q.    Do you know where they were extracted
    23     to?
    24               A.    No.
    25               Q.    What did you do after the buses had been



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      1    successfully extracted?
      2              A.    We left the area.
      3              Q.    Where did you go?
      4              A.    I don't recall.
      5              Q.    When you say "the area," do you mean
      6    downtown or just that immediate intersection?
      7              A.    Immediate area.
      8              Q.    But you were still working; is that
      9    correct?
    10               A.    Right.
    11               Q.    How long did you work that day?
    12               A.    I'm unsure.
    13               Q.    Did you work into the evening, if you
    14     recall?
    15               A.    Yes.
    16               Q.    Did you encounter protesters at any
    17     other point in that day?
    18               A.    Yes.
    19               Q.    When did you encounter protesters?
    20               A.    I don't know.
    21               Q.    We're talking about Friday,
    22     September 15th?
    23               A.    Yes.
    24               Q.    After the buses were successfully
    25     extracted --



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      1             A.     Yes.
      2             Q.     -- you did encounter protesters; is that
      3    correct?
      4             A.     Yes.
      5             Q.     But you don't know when?
      6             A.     At what point are you speaking of?
      7             Q.     You said afternoon into the evening of
      8    Friday, September 15th, 2017, you did encounter
      9    protesters another time that day.              Where did you
    10     encounter them?
    11                     MR. WHEATON:      Objection to form.         Object
    12     to that.
    13                     You can answer if you understand her
    14     question.
    15              A.     I don't understand.         At what location
    16     are we speaking of?
    17              Q.    (By Ms. Steffan)       Any location, any time
    18     that afternoon or evening, did you -- you said you
    19     did encounter protesters?
    20              A.     Yes, we did.
    21              Q.     Where and when?
    22              A.     At Clark and Tucker, on 1200 Clark.
    23              Q.     And that was in the afternoon; is that
    24     correct?
    25              A.     Yes.



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      1             Q.     Still light outside?
      2             A.     Yes.
      3             Q.     Did you encounter protesters at any
      4    other time, that you can recall, that afternoon or
      5    that evening of September 15th?
      6             A.     Yes.
      7             Q.     Do you recall where?
      8             A.     Throughout downtown.
      9                    MR. WHEATON:      Could we take a
    10     five-minute break?
    11                     MS. STEFFAN:      Sure.
    12                     (A short break was taken.)
    13              Q      (By Ms. Steffan) I'd like to direct your
    14     attention to the evening of Sunday, September 17th,
    15     2017.    So this is two days after the verdict was
    16     released.      Were you working that day?
    17              A.     Yes.
    18              Q.     You were downtown; is that correct?
    19              A.     Yes.
    20              Q.     Do you recall what time you started work
    21     on Sunday, the 17th?
    22              A.     No.
    23              Q.     Do you recall if it was the morning,
    24     afternoon or evening?
    25              A.     No.



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      1                    MS. STEFFAN:      At this time I'm going to
      2    show you a portion of a video that we'll refer to as
      3    Plaintiff's Exhibit 1.
      4                    (Plaintiffs's Exhibit 1 was marked for
      5    identification.)
      6                    MS. STEFFAN:      And just for the record,
      7    this was a video produced by the City as City 01176.
      8                    I'm going to try to start it around time
      9    stamp 11:25 p.m.        I'm going to move the laptop this
    10     way so we can all see it.
    11              Q.    (By Ms. Steffan)       Have you seen this
    12     video before, just based on this still frame?
    13              A.     Not that -- no.
    14              Q.     I'm going to press play now, and we'll
    15     watch a few seconds so that we can get our bearings.
    16              A.     Okay.
    17              Q.     I'm going to stop it.          We're at
    18     11:25:45.
    19                     You haven't seen this video before; is
    20     that correct?
    21              A.     Not that I -- no.
    22              Q.     But you know what it is showing; is that
    23     correct?
    24              A.     Yes.
    25              Q.     What does it show?



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      1             A.     A bunch of policemen and people under
      2    arrest at Washington and Tucker.
      3             Q.     Is this on September 17th, 2017?
      4             A.     Yes.
      5             Q.     Were you working this evening?
      6             A.     Yes.
      7             Q.     And are you depicted in this video?
      8                    I'll direct your attention down to this
      9    figure here in the bottom left corner.               Is that you?
    10              A.     No.
    11              Q.     Do you know who that is?
    12              A.     No.
    13              Q.     We're going to fast-forward the video.
    14     Not fast-forward it, but play it.              I'm going to stop
    15     the video for a second.
    16                     Do you recall what type of uniform you
    17     would have been wearing that evening?
    18              A.     Yes.
    19              Q.     What type of uniform would you have been
    20     wearing?
    21              A.     What I'm wearing right now.
    22              Q.     So for the record, that's a light blue
    23     -- or, no, white shirt?
    24              A.     No.    It's going to be a white shirt,
    25     white polo shirt, but it will be a long sleeve.



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      1              Q.    So that evening you were wearing a white
      2    polo shirt with long sleeves?
      3              A.    Uh-huh.
      4              Q.    Were you wearing any protective
      5    equipment that evening?
      6              A.    Yes, I'm sure I was.
      7              Q.    What kind of protective equipment were
      8    you wearing?
      9                    MR. WHEATON:      If you remember.
    10               A.    I don't recall.
    11               Q     (By Ms. Steffan) Were you wearing a
    12     helmet?
    13               A.    Yes.
    14               Q.    Were you wearing a gas mask?
    15               A.    No.
    16               Q.    Were you wearing a vest?
    17               A.    Yes.
    18               Q.    Would your vest have been one that was
    19     marked with "police" on the back, a black vest?
    20               A.    I don't recall.
    21               Q.    I'm playing the video again.           We're now
    22     at approximately time stamp 11:26 p.m.
    23                     Okay.     I'm going to stop the video for a
    24     moment.
    25                     Can you just describe what direction the



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      1    video is oriented?
      2              A.    I -- I'm trying to figure that out
      3    myself.
      4              Q.    I can see -- if you direct your
      5    attention up here, this says Washington.               So I know
      6    that this is Washington here going diagonal from the
      7    top left to the bottom right?
      8              A.    Yes.
      9              Q.    Do you know if we're facing north or
    10     south?
    11               A.    That would be -- I don't know why I am
    12     having a problem here.          Can you -- I don't -- I
    13     don't know.      I don't know which way you're facing.
    14     You're at the intersection of Tucker and Washington.
    15     I think this is the northwest corner.
    16               Q.    That is my understanding as well --
    17               A.    Okay.
    18               Q.    -- I think.
    19                     Do you know where you were in relation
    20     to this group of people you see here at this
    21     intersection?
    22                     MR. WHEATON:      Objection to form.         It's
    23     vague as to the time frame.
    24               Q.   (By Ms. Steffan)       At this time,
    25     11:26 p.m., do you know where you would have been?



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      1             A.     No.
      2             Q.     Were you part of this line of officers?
      3    And I'm pointing to the circle of officers encasing
      4    the intersection of Washington and Tucker who are
      5    wearing helmets, were you part of that line?
      6             A.     No.
      7             Q.     Would you have been on the outside of
      8    that line or inside that line?
      9             A.     I would have been outside of that line.
    10                     MS. STEFFAN:      If we can go off the
    11     record for one second.
    12                     (A short break was taken.)
    13              Q.    (By Ms. Steffan)       When we went off the
    14     record, I think we had just established that you
    15     were at this scene and you would have been outside
    16     the line of officers and protective equipment; is
    17     that correct?
    18              A.     Yes.
    19              Q.     Let's play the video for a couple more
    20     minutes here, and maybe you may be able to identify
    21     yourself or maybe not.
    22                     I'm going to stop the video for a moment
    23     here.    We're at 11:27:45.
    24                     Do you recognize any of those officers
    25     as yourself in the video at this point?



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      1             A.     (The witness shook his head.)
      2             Q.     Do you recognize any of the officers at
      3    all?
      4             A.     No.   I can't even.
      5             Q.     You can't tell, for example, who this
      6    figure is in the middle here whose face is exposed?
      7             A.     No.   I don't know who -- I don't know
      8    who that is, but I'm not in there.
      9             Q.     You don't see yourself.
    10                     This video, if I understand correctly,
    11     is mounted on a building; is that right?
    12              A.     I don't know.
    13              Q.     This --
    14              A.     Oh, this is the real -- is this the
    15     police department's?
    16              Q.     The police department produced this
    17     video.     It is running on a kind of software called
    18     Genetec.
    19              A.     Uh-huh.
    20              Q.     Are you familiar with that software?
    21              A.     No.
    22              Q.     To the best of your knowledge, is this a
    23     Real Time Crime Center video?
    24              A.     No.
    25              Q.     You don't know?       No, it's not?



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      1             A.     I mean, I -- no, I don't know.
      2             Q.     I am going to ask you, just based on
      3    your knowledge as an officer of St. Louis
      4    Metropolitan Police Department, I'm pointing to the
      5    officers who are facing away from us and who have an
      6    object in their right hands, these objects here,
      7    what are these?
      8             A.     Sticks.
      9             Q.     What kind of sticks?
    10              A.     A baton.
    11              Q.     Are they department-issued batons?
    12              A.     Yes.
    13              Q.     What is their use?
    14              A.     They use them during -- for civil dis --
    15     civil disobedience team uses those.
    16              Q.     Those are department issued to members
    17     of the civil disobedience team; is that correct?
    18              A.     Correct.
    19              Q.     I'm playing the video again.           We're
    20     starting from 11:27:45.
    21                     Lieutenant, I'll ask you to direct your
    22     attention to these officers who are banging the
    23     sticks on the ground.         Do you see that?
    24              A.     Uh-huh.
    25              Q.     I've stopped the video.



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      1                    Based on your experience as a St. Louis
      2    metropolitan police officer, what is the purpose of
      3    banging the batons on the street?
      4                    MR. WHEATON:      Objection; form,
      5    foundation, calls for speculation.
      6             Q.    (By Ms. Steffan)       You can answer.
      7             A.     I'm not part of the civil disobedience
      8    team.
      9             Q.     Is your testimony that you don't know
    10     why?
    11              A.     I don't know.
    12              Q.     Have you ever had any kind of training
    13     for civil disobedience events?
    14              A.     Yes.
    15              Q.     Did you have training with a baton as
    16     part of that civil disobedience training?
    17              A.     Yes.
    18              Q.     Were you ever instructed that you should
    19     bang your baton against the ground as part of that
    20     training?
    21              A.     Not the ground.
    22              Q.     Where were you instructed that you
    23     should bang your baton as part of that training?
    24                     MR. WHEATON:      Objection; form,
    25     foundation.



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      1             A.     At that time, it was a shield when you
      2    marched.
      3             Q.    (By Ms. Steffan)       You were to bang your
      4    baton against your shield as you marched; is that
      5    what you're saying?
      6             A.     Yes.
      7             Q.     What was the purpose of doing that?
      8             A.     To gain compliance or -- so you gain
      9    compliance.      It's a showing of -- it was used as if
    10     you're marching into a group or if you're going to
    11     move a group, it was used as a method of
    12     controlling.
    13              Q.     How does that effectuate control?
    14                     MR. WHEATON:      Objection; form,
    15     foundation, calls for speculation.
    16              A.     I don't know.
    17              Q.    (By Ms. Steffan)       Are those officers that
    18     you see depicted in that video marching into a
    19     group?
    20              A.     No.
    21              Q.     I'm going to start the video again.
    22     We're at 11:27:58.        Lieutenant, I ask you to just
    23     watch for a minute or so here.            If you do see
    24     yourself, will you identify yourself, please.
    25                     I'm going to stop the video for one



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      1    second.        I see that there is a figure now at
      2    11:28:30, on the right-hand side of the screen,
      3    wearing protective equipment and also a long-sleeved
      4    white shirt.        Is that you?
      5              A.      No.
      6              Q.      Is that someone else who is a
      7    lieutenant?
      8              A.      It's a lieutenant or a captain.          That's
      9    a uniform white shirt.
    10               Q.      Started the video again.
    11                       I'm going to stop the video again.           Now
    12     we're at time stamp 11:30 p.m.
    13                       Have you seen yourself at all in the
    14     video?
    15               A.      No.
    16               Q.      Have you seen any officers you recognize
    17     in the video?
    18               A.      No.
    19               Q.      You were at this intersection at this
    20     time; is that correct?
    21               A.      Yes.
    22               Q.     Where were you in relation to the video?
    23     Do you know?
    24               A.      Yes.
    25               Q.     Where were you?



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      1             A.     A block down.
      2             Q.     You're a block north; is that correct?
      3             A.     Correct.
      4             Q.     Why are you a block north?
      5             A.     That was my position that I was given to
      6    control when they were effecting the mass arrest.
      7             Q.     You're with the bike response team; is
      8    that correct?
      9             A.     Correct.
    10              Q.     And all members of the bike response
    11     team who are working at this time are at that
    12     position with you; is that correct?
    13              A.     No.
    14              Q.     Where are the members of the bike
    15     response team deployed at this point?
    16              A.     I believe there is two squads.            That's
    17     west.    They're down here blocking.
    18              Q.     I think you're pointing to the north and
    19     east?
    20              A.     No.     To the east.     They're to the -- if
    21     this is the northwest corner.
    22              Q.     Yes.     I think that's correct.
    23              A.     Okay.     They're down here behind
    24     everybody.
    25              Q.     From your vantage point at that position



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      1    where you were, not where your other members of the
      2    bike response team were, could you see the arrests
      3    that were being effectuated?
      4             A.     I could see -- I could see people being
      5    marched out of the group in handcuffs, but I
      6    didn't -- I couldn't articulate exactly what was
      7    going on.
      8             Q.     Sure.
      9                    Approximately how many officers do you
    10     see in this video?
    11              A.     I don't know.       60, 70.
    12              Q.     To your knowledge, do you know how many
    13     officers, among all the different kinds of units,
    14     were deployed that evening at or near this
    15     intersection?
    16              A.     Do I know how many, no.
    17              Q.     Do you know approximately?
    18              A.     No.
    19              Q.     Do you know how many people were
    20     arrested at that intersection?
    21              A.     No.
    22              Q.     Have you ever read the incident report
    23     describing the arrest at that intersection?
    24              A.     No.
    25              Q.     How long did you remain at that



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      1    position, a block or so north of the Washington and
      2    Tucker intersection, that evening?
      3             A.     I don't know.
      4             Q.     Do you know what time you ended work?
      5             A.     No.
      6             Q.     Did you work into the next morning?              Do
      7    you know?
      8             A.     We worked -- we worked well after the
      9    mass arrest was completed.
    10              Q.     What did you do after that point?
    11                     MR. WHEATON:      Objection to form.
    12              A.     Primary responsibility was to patrol
    13     downtown for -- there was multiple groups that were
    14     still roaming downtown.          So we kept a police
    15     presence downtown.
    16              Q.    (By Ms. Steffan)       When you say multiple
    17     groups, do you mean groups of civilians and
    18     protesters?
    19              A.     Yes.
    20              Q.     Protesters and non-protesters, or just
    21     protesters?
    22                     MR. WHEATON:      Objection; foundation.
    23     Subject to that.
    24              A.     I don't know who all was in the street
    25     that night.



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      1             Q.    (By Ms. Steffan)       Fair enough.
      2                    If I can ask you to back up in time
      3    slightly.      Do you know when you arrived at that
      4    point, about a block north of this intersection?
      5             A.     Before the --
      6             Q.     Before this arrest was effectuated?
      7             A.     Correct.
      8             Q.     Do you know when you arrived there?
      9             A.     As the civil disobedience teams were
    10     coordinating with each other for the mass arrest, I
    11     took over the location of Lucas and Tucker, which
    12     was an extended period.          I don't know.
    13              Q.     Something longer than an hour?
    14              A.     No.    Less than an hour.
    15              Q.     At the place where you were on that
    16     line, I'm -- my understanding is you and other
    17     members of the bike response team were in a line; is
    18     that correct?
    19              A.     Correct.
    20              Q.     And you were blocking both the sidewalk
    21     and the street at that point; is that correct?
    22              A.     No.
    23              Q.     The sidewalk was open?
    24              A.     Yes.
    25              Q.     At what point did the sidewalk close, or



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      1    was it never closed?
      2             A.     We never closed it.
      3             Q.     Did you encounter any pedestrians at
      4    that line?
      5             A.     Yes.
      6             Q.     Many pedestrians?        A few?    One?
      7             A.     At that location I saw several, several
      8    groups, singles, several.
      9             Q.     Did you speak with any pedestrians while
    10     you were at that line?
    11              A.     No.
    12              Q.     Did any pedestrians go past you on the
    13     sidewalk?
    14              A.     Yes.
    15              Q.     How many pedestrians went past you on
    16     the sidewalk approximately?
    17              A.     I don't know.       Numerous.
    18              Q.     You and the other members of the bike
    19     response team were at that point blocking the
    20     street; is that correct?
    21              A.     Blocking Lucas.       We were blocking
    22     pedestrian and vehicular traffic eastbound on Lucas.
    23              Q.     So you were -- you had created a line
    24     that went north-south, is that correct, or you
    25     created a line that went west-east?



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      1             A.     North-south.
      2             Q.     North-south.
      3                    And you were on the east side of the
      4    intersection with Washington; is that correct?
      5             A.     Yes.
      6             Q.     Were there cars trying to go past you
      7    one way or the other?
      8             A.     Not that I recall.
      9             Q.     Were there cars trying to go north or
    10     south on Washington?
    11              A.     Not that I recall.
    12              Q.     Did you have your bicycles at that
    13     point?
    14              A.     Yes.
    15              Q.     And were you using your bicycles, if I
    16     can sort of demonstrate, sort of perpendicular in
    17     front of you like this?
    18              A.     Yes.
    19              Q.     Were you also working during a
    20     demonstration or a protest on September 28th or 29th
    21     of 2017 on Broadway?         Do you recall?
    22              A.     I don't know.
    23              Q.     How about an action on October 3rd near
    24     or on a highway?        Were you working?
    25              A.     I'm unable to tell by the dates.



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      1              Q.    Have you ever been -- in the last year
      2    and a half, let's say, have you ever been deployed
      3    at an action where protesters attempted to block the
      4    highway?
      5              A.    Yes.
      6              Q.    Do you recall if that was before or
      7    after the Stockley verdict?
      8              A.    After.
      9              Q.    What happened there?
    10               A.    A large number of people walked onto the
    11     highway, and the bikes -- the bike unit became
    12     involved when they exited the highway on a mass
    13     arrest.
    14               Q.    Did you arrest people as part of that
    15     action?
    16               A.    Yes.
    17               Q.    How many individuals did you arrest?
    18               A.    I, I did not personally arrest people.
    19               Q.    I see.
    20                     Members of the bike unit arrested
    21     people?
    22               A.    I think we, we -- the bike unit
    23     assisted, but they were not the primary arresting
    24     unit.
    25               Q.    I see.



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      1                    What was the role of the bike unit at
      2    that action?
      3              A.    To assist the civil disobedience teams.
      4              Q.    In effectuating the arrests or something
      5    else?
      6              A.    Correct.
      7              Q.    Have you patrolled other public
      8    demonstrations or protests during your tenure as an
      9    officer of St. Louis Metropolitan Police Department?
    10               A.    Yes.
    11               Q.    How many approximately?
    12               A.    What was your question again?
    13               Q.    Have you patrolled other protests or
    14     demonstrations during your tenure at SLMPD?
    15               A.    Is that including the Stockley or --
    16     dozens.
    17               Q.    Dozens including the Stockley protest;
    18     is that what you're saying?
    19               A.    Dozens, yes.
    20               Q.    How many -- approximately how many
    21     protests have you patrolled that were unrelated to
    22     the Stockley verdict?
    23               A.    Dozens.
    24               Q.    What is your understanding of when you
    25     can use pepper spray against an individual?



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      1                    MR. WHEATON:      Objection; form and
      2    foundation.
      3             A.     Against an individual?          If they're -- if
      4    I'm addressing an individual that is committing a
      5    crime, interfering, I can address them with pepper
      6    spray.
      7             Q.    (By Ms. Steffan)       You said committing a
      8    crime, interfering.         Are those one or the other or
      9    do they have to be doing both things in order for it
    10     to be appropriate to use pepper spray?
    11              A.     They would have to -- either one would
    12     be a crime.
    13              Q.     Are there other -- based on your
    14     experience as a police officer, are there other
    15     limitations on when you can use pepper spray, or any
    16     time a person is interfering or committing another
    17     crime, is it okay to use pepper spray?
    18                     MR. WHEATON:      Objection; form and
    19     foundation, calls for speculation.
    20              A.     I'm unsure exactly what you're asking.
    21              Q.    (By Ms. Steffan)       It's a complicated
    22     question.      I can understand that.
    23                     Are you -- you just testified that you
    24     may use -- you may use pepper spray if a person is
    25     committing a crime, one crime of which might be



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      1    interfering with an officer; is that correct?
      2             A.     Correct.
      3             Q.     But you're not saying every time a
      4    person is committing a crime it is appropriate to
      5    use pepper spray; is that correct?
      6             A.     That would be correct.
      7             Q.     What other limitations are there on the
      8    use of pepper spray?         What has to be true for it to
      9    be appropriate to use pepper spray?
    10                     MR. WHEATON:      Same objection, calls for
    11     speculation, absence of specific facts and
    12     circumstances for deployment.
    13              A.     I do not understand the question.
    14              Q.    (By Ms. Steffan)       Let's make it
    15     non-hypothetical.
    16              A.     Yes.
    17              Q.     Let's go back to the bus extraction.
    18              A.     Yes.
    19              Q.     You used pepper spray through a
    20     streamer?
    21              A.     Yes.
    22              Q.     On several occasions?
    23              A.     Yes.
    24              Q.     Why did you do that?
    25              A.     The people that I addressed with pepper



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      1    spray were interfering with officers or assaulting
      2    officers or grabbing the assault -- the officers'
      3    equipment bikes, impeding the -- impeding the
      4    officers on making the bus extraction.               Therefore,
      5    they were addressed -- I addressed them with pepper
      6    spray at that time to stop their actions.
      7             Q.     When you say you addressed them with
      8    pepper spray, you mean you shot the streamer; is
      9    that correct?
    10              A.     I sprayed them, yes.
    11              Q.     When I started that question, and I was
    12     asking about what circumstances make it appropriate
    13     to use pepper spray, we were discussing when it was
    14     appropriate to use pepper spray against an
    15     individual; is that correct?
    16              A.     Yes.
    17              Q.     Are there different circumstances in
    18     which it is appropriate to use pepper spray against
    19     a crowd?
    20              A.     Yes.
    21              Q.     When is it okay to use pepper spray
    22     against a crowd?
    23              A.     When a crowd becomes violent, there is
    24     a -- we have a special order on it during these
    25     times.     If it's considered a violent crowd and



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      1    you're trying to disperse the crowd, there's
      2    specific -- there's specific things that you have to
      3    do, which we have three -- make up 3-by-5 cards when
      4    we're doing this to make sure we have it and what we
      5    have to say via loud speaker to make sure everybody
      6    knows.
      7             Q.     You said it would be appropriate to use
      8    pepper spray in such a situation if the crowd were
      9    violent; is that correct?
    10              A.     At which point?
    11              Q.     Those limitations that you're
    12     describing, the instructions that you have to give
    13     members of a crowd, those occur when a crowd is
    14     violent; is that correct?
    15                     MR. WHEATON:      Objection; foundation,
    16     calls for speculation.
    17              A.     If it has been deemed that it is a
    18     unlawful assembly and you're trying to do a crowd
    19     dispersal, you have to announce -- give them an
    20     avenue of moving.
    21              Q.    (By Ms. Steffan)       What makes a crowd an
    22     unlawful assembly?
    23                     MR. WHEATON:      Objection; foundation,
    24     calls for speculation.
    25              Q.    (By Ms. Steffan)       You can answer.



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      1              A.    There's specific things within our --
      2    within our special orders.           If there's -- if they're
      3    engaging in illegal activity and it's deemed --
      4    there, there's a checklist, you have to read over
      5    the checklist, check everything.             If everything's
      6    met, then it's an unruly -- it's an unlawful
      7    assembly.
      8              Q.    What are the things on the checklist?
      9              A.    I don't know exactly.
    10               Q.    Can you name any of them?
    11               A.    Yes.    It's violation of law, violence.
    12     That would be it.
    13               Q.    There might be other things, you just
    14     don't recall what they are?
    15               A.    Correct.
    16               Q.    When you have to make a determination
    17     about whether a crowd is violent, what types of
    18     things count as violence?
    19                     MR. WHEATON:      Objection; foundation.
    20     There's no foundation that he is responsible for
    21     making that determination.
    22               Q.   (By Ms. Steffan)       If you know, you can
    23     answer.
    24               A.    What is determined -- one more time.
    25                     MR. WHEATON:      You can ask her to read



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      1    the question back if you'd like.
      2             A.     What makes it a crowd?          If they're
      3    throwing rocks and they're acting in unison together
      4    and we're trying to disperse a crowd, that would be
      5    it.
      6             Q.    (By Ms. Steffan)       Let's take a
      7    hypothetical situation.          Say you have a crowd of ten
      8    people and one person throws a rock.              Is it okay to
      9    use pepper spray against the crowd under those
    10     circumstances?
    11                     MR. WHEATON:      Objection; foundation,
    12     calls for speculation.          It's an improper
    13     hypothetical.
    14              A.     I, I would -- I would need more
    15     specifics on exactly what's going on.
    16              Q.    (By Ms. Steffan)       What kinds of
    17     information would you need?
    18              A.     Exactly what the crowd is doing, are
    19     they acting in unison.
    20              Q.     How do you determine if the crowd is
    21     acting in unison?
    22                     MR. WHEATON:      Objection; foundation,
    23     calls for speculation again, absent specific
    24     context.
    25              A.     Specifically -- I, I would need



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      1    specifics on which -- is there an incident we're
      2    speaking of or just a hypothetical?
      3             Q.    (By Ms. Steffan)       I'm speaking
      4    hypothetically, and I'm not asking you to make a
      5    determination.         What I'm asking you is:        What kinds
      6    of information would you be looking for in order to
      7    make a determination about whether a crowd is acting
      8    violently or not?
      9             A.     Personally?
    10              Q.     Yeah, personally.
    11              A.     Yes.     If you have a group that's
    12     throwing rocks and other people are acting in
    13     unison, even though they're not throwing rocks, but
    14     they're foiling, foiling the offenders that are --
    15     that are throwing the rocks, foiling them -- the
    16     police from responding to them or acting as shields
    17     where they stand up in front of you and then guys
    18     are throwing rocks over, it's not usually the people
    19     in front, but that would -- my determination would
    20     be that they're acting in unison together.
    21              Q.     Is it your understanding that if you
    22     deploy a chemical agent while you're on duty, that
    23     you need to write a report about it?
    24              A.     A chemical agent?
    25              Q.     What does chemical agent mean to you?



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      1             A.     A chemical agent can be an irritant or a
      2    chemical.      So are, are we speaking of the irritant?
      3             Q.     Is pepper spray a chemical agent?
      4             A.     I would consider it an, an irritant,
      5    yes.    So for the sake of this conversation, we can
      6    say it's a chemical agent.
      7             Q.     Is tear gas a chemical agent to you?
      8             A.     Yes.
      9             Q.     And is OC spray, oleoresin capsicum
    10     spray, pepper spray, no matter how it is deployed,
    11     is that a chemical agent to you, whether it's a
    12     streamer or a fogger or --
    13              A.     Sure.    Yes.
    14              Q.     Yes?
    15              A.     Yes.
    16              Q.     Is it your understanding that you are
    17     required to write a report if you deploy a chemical
    18     agent while you are on duty?
    19              A.     Yes.
    20              Q.     Are you familiar with a St. Louis City
    21     ordinance about traffic obstruction or interference?
    22              A.     Yes.
    23              Q.     Are you aware that that ordinance makes
    24     it a crime to obstruct or impede traffic?
    25              A.     Yes.



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      1              Q.    What is your understanding of when a
      2    person is violating that ordinance?              What do they
      3    have to be doing in order to be violating the
      4    impeding or obstructing traffic ordinance?
      5                     MR. WHEATON:     Objection; foundation,
      6    calls for speculation.
      7              A.     Are you wanting a hypothetical?
      8              Q.    (By Ms. Steffan)      I want to know what
      9    elements you think have to be present for a person
    10     to be violating that ordinance.
    11                      MR. WHEATON:     Same objection.
    12               A.     That they're impeding the flow of
    13     traffic.       If their actions are causing traffic to
    14     not be able to use that thoroughfare, they're
    15     impeding the flow of traffic.
    16               Q.    (By Ms. Steffan)      Can a person be
    17     impeding or obstructing traffic if the road is
    18     closed?
    19               A.     If their actions are causing the road to
    20     be closed, they would be impeding the flow of
    21     traffic.
    22               Q.     Can a person be impeding or obstructing
    23     traffic if they're on a sidewalk?
    24               A.     Yes.
    25               Q.     If a person is standing still on a



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      1    sidewalk, are they impeding or obstructing traffic?
      2                    MR. WHEATON:      Objection; form, calls for
      3    speculation.
      4              A.    I'm unsure what the question is.
      5              Q.   (By Ms. Steffan)       If a person is standing
      6    still on a sidewalk, are they obstructing traffic?
      7                    MR. WHEATON:      Objection; form,
      8    foundation, improper hypothetical.
      9              A.    That in itself, no.
    10               Q.   (By Ms. Steffan)       What else has to be
    11     present for them to be obstructing traffic?
    12               A.    If they're blocking -- if they're
    13     blocking the sidewalk.          So one person, no, but if
    14     you have multiple people acting in unison, they're,
    15     they're impeding the flow of the sidewalk.
    16               Q.    How do you tell if people are acting in
    17     unison?
    18                     MR. WHEATON:      Objection; form.
    19               A.    When you're giving orders for them to
    20     move and they don't move and they're blocking -- and
    21     they're blocking the sidewalk.
    22               Q.   (By Ms. Steffan)       What is your
    23     understanding of when you can order people to move
    24     on a sidewalk?
    25               A.    I'm not sure --



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      1                    MR. WHEATON:      Can you read that question
      2    back for me.       I'm sorry.
      3                    (The pending question was read back by
      4    the court reporter.)
      5                    MR. WHEATON:      Make an objection to form,
      6    foundation and it calls for speculation.
      7             A.     Okay.    I can -- it's my understanding we
      8    can move people when it's a public safety issue
      9    or -- a public safety issue.            So when we move
    10     somebody from a sidewalk, you're either impeding the
    11     flow or they're impeding the flow -- if they're
    12     impeding the flow and it's causing a public safety
    13     issue.
    14              Q.    (By Ms. Steffan)       What is a public safety
    15     issue?
    16              A.     It would depend on the circumstance.
    17              Q.     Can you give me an example of a public
    18     safety issue?
    19              A.     If a civil disobedience team is trying
    20     to move on a sidewalk and everybody's -- and people
    21     are blocking the sidewalk and they're giving lawful
    22     orders to move, they're interfering and -- impeding
    23     the flow of the sidewalk and interfering with an
    24     officer.
    25              Q.     If I understand correctly, you're saying



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      1    if an officer is trying to get by and the officer
      2    can't get by, that would be impeding the flow of
      3    traffic; is that correct?
      4             A.     That would be, too, yes.
      5             Q.     Is that the situation you just described
      6    or do I have it wrong?
      7             A.     I used a hypothetical of a civil dis --
      8    civil disobedience team or a policing element trying
      9    to move down a sidewalk that is being blocked by
    10     people and they were giving orders to move, they
    11     would be in violation -- they would be impeding the
    12     flow of traffic on the sidewalk as well as
    13     interfering with an officer.
    14              Q.     You mentioned earlier that if you are --
    15     let me back up a second.
    16                     You testified earlier that if a crowd is
    17     deemed to be an unlawful assembly and asked to
    18     disperse, there are certain things you have to do
    19     before you can actually disperse the crowd; is that
    20     correct?
    21              A.     Correct.
    22              Q.     Those are warnings that would be given
    23     over a loud speaker; is that correct?
    24              A.     Correct.
    25              Q.     And you mentioned the 3-by-5 cards I



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      1    think.     Those have the text of the warning on
      2    them; is that correct?
      3             A.     Correct.
      4             Q.     Do you know the elements that that
      5    warning has to include?
      6             A.     Yes.
      7             Q.     What are those elements?
      8             A.     You identify yourself, that it's been --
      9    identify yourself, tell the crowd what the violation
    10     is and the avenue of exit, where to go.
    11              Q.     Do you know how long a dispersal order
    12     remains in effect, how long people have to stay out
    13     of the area?
    14              A.     Until the activity ceases.
    15              Q.     What does that mean?
    16              A.     If you have a riotous crowd and you tell
    17     them to leave the area and they don't leave, or they
    18     move one, one block over or 10 feet over and
    19     continue their, their activity, that would not be
    20     dispersing.
    21              Q.     So 10 feet over, not dispersing; is that
    22     correct?
    23              A.     They have to leave the area.
    24              Q.     How big is the area?
    25                     MR. WHEATON:      Objection; form,



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      1    foundation, calls for speculation.
      2             A.     It would depend -- it would depend on
      3    the situation.
      4             Q.    (By Ms. Steffan)       Is a block away -- have
      5    you left the area if you are a block away?
      6                    MR. WHEATON:      Same objection.
      7             A.     It depends on the situation.
      8             Q.    (By Ms. Steffan)       So that might be
      9    leaving the area, but it might not be, depending on
    10     the circumstances?
    11                     MR. WHEATON:      Same objection.
    12              A.     Correct.
    13              Q.    (By Ms. Steffan)       Is that information
    14     included in the warning that you described, how far
    15     away the person has to go?
    16              A.     No.   It gives -- we were giving avenues
    17     of exit --
    18              Q.     Does it tell --
    19              A.     -- to leave the area.
    20              Q.     Does the warning contain information
    21     about how long the person has to remain out of the
    22     area?
    23              A.     No.
    24              Q.     Do you agree that people in St. Louis
    25     have a First Amendment right to protest?



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      1                    MR. WHEATON:      Objection.      Go ahead.      Go
      2    ahead.
      3             A.     Absolutely.
      4             Q.    (By Ms. Steffan)       Does that include the
      5    right to protest the actions of police officers
      6    themselves?
      7             A.     Yes.
      8             Q.     Does that include the right to protest
      9    on sidewalks?
    10              A.     Yes.
    11              Q.     And on streets as well?
    12                     MR. WHEATON:      Just going to object to
    13     foundation and that it calls for speculation again,
    14     absent specific context.
    15              A.     I'm unsure of the question.
    16              Q.    (By Ms. Steffan)       Do people have a right,
    17     protected by the First Amendment, to protest in
    18     streets in the City of St. Louis?
    19                     MR. WHEATON:      Same objection.
    20              A.     That would -- that would depend.
    21              Q.    (By Ms. Steffan)       Sometimes do they have
    22     that right?
    23              A.     Yes.
    24              Q.     Who decides what streets and what
    25     sidewalks people can protest on?



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      1                    MR. WHEATON:      Objection; calls for
      2    speculation.
      3              A.    I don't know.
      4              Q.   (By Ms. Steffan)       Did you patrol the
      5    women's march in January of 2017 in downtown
      6    St. Louis?
      7              A.    Yes.
      8              Q.    Were people blocking the street during
      9    that protest?
    10               A.    Yes.
    11               Q.    Did you deploy chemical agents against
    12     anyone during that protest?
    13               A.    No.
    14               Q.    Even though they were blocking the
    15     street?
    16               A.    Correct.
    17               Q.    Did you arrest anyone at that protest?
    18               A.    Yes.
    19               Q.    How many people did you arrest?
    20                     MR. WHEATON:      Are you asking if he
    21     personally arrested anyone?
    22                     MS. STEFFAN:      Yeah.
    23               Q.   (By Ms. Steffan)       How many people did you
    24     personally arrest?
    25               A.    I arrested one.



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      1             Q.     What was that person doing that caused
      2    them to be arrested?
      3             A.     When the street was opened up, refused
      4    to get out of the street.
      5             Q.     Who had opened up the street?
      6                    MR. WHEATON:      Are you asking who
      7    physically removed barricades, or are you asking who
      8    made the decision?
      9             Q.    (By Ms. Steffan)       Who made the decision
    10     to open up the street?
    11                     MR. WHEATON:      If you know.
    12              A.     I don't know.
    13              Q.    (By Ms. Steffan)       Do you know if it was
    14     the police department that made that decision or
    15     someone else?
    16              A.     I don't know.
    17              Q.     You weren't involved in that decision?
    18              A.     No.
    19              Q.     Were you involved in the decisions to
    20     open or close streets during the protests related to
    21     the Stockley verdict?
    22              A.     Can I have that question one more time?
    23              Q.     Sure.
    24                     Were you personally involved in any
    25     decisions to open or close streets during the



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      1    Stockley verdict protests?
      2                    MR. WHEATON:      Objection; form.
      3             A.     Yes.
      4             Q.    (By Ms. Steffan)       Do you recall a
      5    specific instance in which you opened or closed a
      6    street, related to the Stockley verdict?
      7             A.     We closed -- the groups of protesters
      8    were marching from exit -- entrance ramps and exit
      9    ramps, trying to get onto the highway, and we were
    10     staying ahead of them and putting up lines to keep
    11     them from going up on the highway.
    12              Q.     Do you remember opening or closing any
    13     other street where you personally were involved in
    14     the decision during the protests after the Stockley
    15     verdict?
    16              A.     Yes.
    17              Q.     When was that?
    18              A.     At Ninth and Olive.
    19              Q.     On September 17th -- on the Sunday?
    20              A.     That Sunday.
    21              Q.     Do you recall any other times where you
    22     made a decision to open or close the street related
    23     to the protests after the Stockley verdict?
    24              A.     Yes, numerous.
    25              Q.     Numerous times?



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      1             A.     Yeah.
      2             Q.     Have you personally sent any emails in
      3    which you describe the police response to the
      4    Stockley verdict protests?
      5                    MR. WHEATON:      Objection; form.
      6             A.     Can I have that one more time?
      7             Q.    (By Ms. Steffan)       Sure.
      8                    Have you sent any emails in which you
      9    discuss or describe the police response to the
    10     Stockley verdict protests?
    11                     MR. WHEATON:      Same objection.
    12              A.     Not that I'm aware of.
    13              Q.    (By Ms. Steffan)       Have you received any
    14     emails in which the police response to the Stockley
    15     verdict protests has been discussed?
    16              A.     Not that I'm aware of.
    17              Q.     Considering the police response to the
    18     Stockley verdict protest as a whole, would you do
    19     anything differently than you did then today if the
    20     same events occurred?
    21                     MR. WHEATON:      Objection; form,
    22     foundation, calls for speculation.
    23              A.     I don't know.
    24              Q.    (By Ms. Steffan)       Are you aware that the
    25     court issued a preliminary injunction in this case?



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      1             A.     Yes, ma'am.
      2             Q.     How did you find out about that?
      3             A.     At a meeting.
      4             Q.     A meeting of who?
      5             A.     A meeting in headquarters.
      6             Q.     So command staff; is that accurate --
      7             A.     Yes.
      8             Q.     -- to say?
      9             A.     Command staff.
    10              Q.     To the best of your understanding, what
    11     does the preliminary injunction tell you about what
    12     you should do differently in your day-to-day
    13     actions?
    14                     MR. WHEATON:      Objection; form and
    15     foundation, calls for speculation.              A preliminary
    16     injunction order speaks for itself.
    17              A.     I don't know.
    18              Q.    (By Ms. Steffan)       Do you do anything
    19     differently when you're patrolling today as opposed
    20     to before the preliminary injunction was issued, as
    21     a result of the preliminary injunction?
    22                     MR. WHEATON:      Objection to form.         It's
    23     vague.
    24              A.     Not to my knowledge.
    25                     MS. STEFFAN:      Can we go off the record a



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      1    second?
      2                    (A discussion was held off the record.)
      3              Q.   (By Ms. Steffan)       Lieutenant, do you know
      4    if there is a minimum number of people to be an
      5    unlawful assembly?
      6                    MR. WHEATON:      Objection; form,
      7    foundation, calls for speculation.
      8              A.    No.
      9              Q.   (By Ms. Steffan)       Directing your
    10     attention to the afternoon of September 15th, 2017.
    11     You testified earlier that you deployed your
    12     streamer against approximately five to six
    13     individuals on that afternoon; is that correct?
    14               A.    Yes.
    15               Q.    Did you provide decontamination to any
    16     of those individuals?
    17               A.    No.
    18               Q.    And I would like to direct your
    19     attention to the whole of your deployment during the
    20     Stockley verdict protests.           During that experience
    21     as a whole, did you personally see any officer
    22     deploy a chemical agent in a situation you believed
    23     was unreasonable?
    24                     MR. WHEATON:      Objection to form,
    25     foundation.      Subject to that.



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      1             A.     No.
      2                    MS. STEFFAN:      No more questions.
      3                    MR. WHEATON:      Give me one second.
      4                           CROSS-EXAMINATION
      5      BY MR. WHEATON
      6             Q.     Lieutenant, you were asked a number of
      7    questions with regards to the difference between
      8    civil unrest or civil disobedience.              Do you recall
      9    ever, one way or the other, ever having been trained
    10     with regards to the definition of either of those
    11     terms?
    12              A.     No.
    13              Q.     So you were answering just strictly
    14     based on your personal understanding of what those
    15     terms mean as you sit here today; is that right?
    16              A.     Yes.
    17                     MR. WHEATON:      Thanks.      That's all I
    18     have.
    19                     MS. STEFFAN:      Nothing.
    20                     THE COURT REPORTER:         Signature?
    21                     MR. WHEATON:      So, Lieutenant, you have
    22     the right, if you'd like, to review this transcript
    23     for typographical errors, or you can trust that the
    24     court reporter took everything down correctly.                 I
    25     typically recommend that people waive their right to



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      1    review and sign.        That choice is up to you.          If you
      2    do choose to trust she take it down correctly, you
      3    just tell her you waive, and if not and you'd like
      4    to read the transcript, you say you'll read.
      5                    THE WITNESS:      Do I stay here for five
      6    more hours?
      7                    MR. WHEATON:      No.
      8                    MS. STEFFAN:      You don't read it right
      9    this second.
    10                     MR. WHEATON:      No.
    11                     MS. STEFFAN:      You will have a chance to
    12     do that.
    13                     MR. WHEATON:      She would send it to you.
    14                     THE WITNESS:      I'm kidding.       I'll waive.
    15                     (The deposition concluded at 11:31 a.m.)
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      1                       CERTIFICATE OF REPORTER
      2
      3                 I, Amanda N. Farrar, a Certified Court
      4    Reporter for the State of Missouri, do hereby
      5    certify that the witness whose testimony appears in
      6    the foregoing deposition was duly sworn by me; the
      7    testimony of said witness was taken by me to the
      8    best of my ability and thereafter reduced to
      9    typewriting under my direction; that I am neither
    10     counsel for, related to, nor employed by any of the
    11     parties to the action in which this deposition was
    12     taken, and further that I am not a relative or
    13     employee of any attorney or counsel employed by the
    14     parties thereto, nor financially or otherwise
    15     interested in the outcome of the action.
    16
    17
    18                                     ________________________
    19                                     Certified Court Reporter
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